 Case: 4:23-cv-01504-MTS         Doc. #: 34     Filed: 05/22/25      Page: 1 of 12 PageID #:
                                              202



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

SEAN A. ANTHONY,                                )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )          Case No. 4:23-cv-01504-MTS
                                                )
QUIKTRIP CORPORATION d/b/a                      )
QUIKTRIP #601,                                  )
                                                )
            Defendant.                          )
                              MEMORANDUM AND ORDER

       This matter is before the Court on Defendant QuikTrip Corporation’s Motion for

Summary Judgment. Doc. [26]. For the reasons that follow, the Court will grant Defendant’s

Motion and enter Judgment in its favor.

I.     Background

       In 2023, Plaintiff Sean A. Anthony brought this premises-liability action against

Defendant, alleging that he was injured while using a fuel pump at Defendant’s gas station on

May 28, 2021. Doc. [1-1]. Plaintiff alleged that when he attempted to pump gas into his

vehicle, the dispensing hose unexpectedly detached from Defendant’s fuel pump and sprayed

him with gasoline, which caused him to sustain injuries. Id. at 2–3. He asserted that Defendant

knew or should have known the subject hose was a dangerous condition on the premises but

negligently failed to repair it or otherwise make it reasonably safe for business invitees. Id.

       All of the fuel pumps at the subject gas station are equipped with “hanging hardware,”

which includes a nozzle, a swivel, a hose, and a breakaway. Doc. [29] ¶ 4. A breakaway is a

safety device on the hose that is activated when a customer fails to remove the nozzle from
 Case: 4:23-cv-01504-MTS         Doc. #: 34     Filed: 05/22/25      Page: 2 of 12 PageID #:
                                              203



their vehicle before driving away from the pump. Id. ¶ 5. When a customer drives away with

the nozzle still in the vehicle, the breakaway device uses a mechanical hydraulic pressure

system to automatically disconnect the hose from the pump and stop the flow of gasoline from

the pump to the nozzle. Id. ¶ 7. As a result, the customer will drive away with only the hose

and nozzle, rather than pulling down the entire pump. Id. ¶ 8. There is no sensor or alarm on

the pump or breakaway device that automatically notifies Defendant or its employees that a

customer has driven away with a nozzle and hose still attached to the vehicle. Id. ¶ 9. Instead,

Defendant is notified that a hose has been disconnected only if an employee is outside and

observes a disconnected hose on the ground or a customer notifies an employee that a hose has

been disconnected. Doc. [28-1] at 6. In the event that Defendant is notified that a hose has

been disconnected from a pump, Defendant’s practice is to take the pump out of service, place

an out-of-service bag on the handle of the nozzle, leave the hose on the ground, and send a

work order to facility support for a repair. Doc. [29] ¶¶ 10, A. Defendant’s store managers

are instructed not to reattach breakaway devices themselves and, instead, wait for a technician

from facility support to arrive and properly reconnect the hose. Id. ¶ 10; Doc. [28-1] at 7 (“The

store manager should not be reattaching the breakaway themselves. . . . [T]hey are not

expected to mess with any mechanical or . . . electronic[] devices that they are not certified to

repair.”). Once or twice per week per gas station, Defendant’s field supervisor is called to

reattach a hose that has been disconnected by a customer driving away with a nozzle. Doc.

[31] ¶ E.

       A surveillance camera at the subject gas station recorded the May 28, 2021, incident

and the events leading up to it, but the gas station’s video cameras are not monitored in real

time. Doc. [29] ¶¶ 18, 24, D. Prior to the incident, an unidentified customer parked at the
                                               2
 Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25     Page: 3 of 12 PageID #:
                                               204



subject gas pump and dispensed gasoline into his vehicle. Id. ¶ 11. At 11:27 a.m., the

unidentified customer drove away from the pump with the nozzle still in the gas tank, causing

the breakaway to activate and disconnect the hose from the pump. Id. ¶ 12. After dragging

the hose on the ground for a short distance, the unidentified customer exited his vehicle and

carried the hose back to the subject pump. Id. ¶ 13. The unidentified customer attempted to

reconnect the hose to the pump himself without notifying Defendant or its employees. Id. ¶ 14.

The unidentified customer reconnected the hose to the pump in such a way that it visually

appeared to be reconnected to the pump, but the customer did not properly reconnect the

breakaway device in a way that would allow the pump to function normally. Id. ¶ 15. The

unidentified customer then drove away from the premises without notifying Defendant or its

employees that the hose had been disconnected or that he had attempted to reconnect the hose

himself. Id. ¶ 16.

       At 11:34, a second unidentified customer parked next to the subject pump and

attempted to use it, but when the pump did not work, the customer pulled his car forward to

the next pump, which he successfully used. Doc. [31] ¶¶ B, C. The second unidentified

customer left the gas station at 11:39 a.m. Id. ¶ C.

       At 11:49 a.m., Plaintiff arrived at the gas station and parked next to the subject pump.

Doc. [29] at ¶ 18. During his deposition, Plaintiff stated that he did not notice anything unusual

about the pump and that everything looked “normal.” Id. ¶ 17; Doc. [28-3] at 5. He placed

the nozzle in his vehicle and squeezed the handle, which caused the pump to repressurize, the

residual fuel left inside of the hose to flow, and the breakaway device to disconnect the hose

from the pump. Doc. [29] ¶¶ 19-20. The breakaway reactivated at that time because the

unidentified customer had not properly reconnected the hose to the pump. Id. ¶ 21. When the
                                                3
 Case: 4:23-cv-01504-MTS           Doc. #: 34     Filed: 05/22/25       Page: 4 of 12 PageID #:
                                                205



hose disconnected from the pump, approximately one tenth of a gallon of gasoline sprayed out

from the point where the breakaway disconnected. Id. ¶ 22. Some of the gasoline sprayed

Plaintiff and allegedly caused him to sustain injuries. Id. ¶ 23.

       Plaintiff admits that during discovery, he did not identify any witness who claimed to

have provided notice to Defendant that the unidentified customer had driven away with the

hose and attempted to reconnect the hose himself. Id. ¶ 26. He also did not endorse any expert

witness to opine on an act or omission of Defendant that caused or contributed to the subject

incident or any defect with the subject gas pump or its components. Id. ¶¶ 26, 27.

       Defendant has moved for summary judgment, arguing that Plaintiff has failed to

produce evidence that it had actual or constructive notice that the unidentified customer

disconnected the hose and then improperly reconnected the breakaway device. Doc. [26].

Defendant contends that Plaintiff cannot establish that it had constructive notice of the

dangerous condition because the undisputed facts show that there was no visual indication that

the hose was improperly connected to the subject pump, there was no alarm or sensor on the

subject pump or breakaway device to notify Defendant’s employees when the hose has become

disconnected from the pump, and Defendant is notified that a hose has been disconnected only

if an employee observes a disconnected hose or a customer notifies an employee that a hose

has been disconnected.1 Doc. [27] at 6–9. Because Plaintiff has not shown that Defendant or

its employees had constructive notice or a reasonable opportunity to discover the condition of



       1
         Defendant also argues that Plaintiff has not produced evidence showing that it violated a
regulation or industry standard, that either the fuel pump or hose was defective, or that Defendant’s
alleged conduct was the proximate cause of Plaintiff’s injuries. Doc. [27] at 9–12. Because the
Court concludes that Plaintiff has not raised a genuine issue of material fact as to whether
Defendant had constructive notice, the Court need not address Defendant’s remaining arguments.
                                                 4
 Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25      Page: 5 of 12 PageID #:
                                               206



the hose prior to Plaintiff’s incident, Defendant asserts that summary judgment should be

entered in its favor. Id. at 8.

       Plaintiff concedes that Defendant did not have actual notice of the condition of the hose,

but he argues that Defendant should have known about the dangerous condition because

technicians in the area are regularly called to reattach disconnected hoses. Doc. [30] at 3.

Noting that Defendant has placed video cameras around the subject gas station but does not

require its employees to monitor the videos, Plaintiff contends that once Defendant installed

cameras to record video of the premises, it undertook a duty to actively monitor the

surveillance footage in real time. Id.

II.    Legal Standard

       “A court must grant a motion for summary judgment if the moving party shows that

there are no genuine disputes of material fact and that it is entitled to judgment as a matter of

law.” Bedford v. Doe, 880 F.3d 993, 996 (8th Cir. 2018) (citing Fed. R. Civ. P. 56(a)). The

movant bears the initial burden of “informing the district court the basis of its motion and must

identify the portions of the record that it believes demonstrate the absence of a genuine dispute

of material fact.” Id. This initial burden is “regularly discharged with ease” and is satisfied

“in either of two ways: [the movant] can produce evidence negating an essential element of

the nonmoving party’s case, or it can show that the nonmoving party does not have enough

evidence of an essential element of its claim to carry its ultimate burden of persuasion at trial.”

Id. If the nonmoving party fails to make a sufficient showing on an essential element of his

case with respect to which he has the burden of proof, the moving party is “entitled to a

judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “On a

motion for summary judgment, ‘facts must be viewed in the light most favorable to the
                                                5
 Case: 4:23-cv-01504-MTS         Doc. #: 34     Filed: 05/22/25     Page: 6 of 12 PageID #:
                                              207



nonmoving party only if there is a “genuine” dispute as to those facts.’” Ricci v. DeStefano,

557 U.S. 557, 586 (2009) (quoting Scott v. Harris, 550 U.S. 372, 380 (2007)). “Mere

allegations, unsupported by specific facts or evidence beyond the nonmoving party’s own

conclusions, are insufficient to withstand a motion for summary judgment.” Thomas v.

Corwin, 483 F.3d 516, 527 (8th Cir. 2007).

III.   Discussion

       The parties agree that Missouri law governs, as the Court’s jurisdiction over this matter

is based on diversity of citizenship. See Hodge ex rel. Farrow v. Walgreen Co., 37 F.4th 461,

464 (8th Cir. 2022) (“Because we are a federal court sitting in diversity, we apply the

substantive law of the forum state.” (quoting Chew v. Am. Greetings Corp., 754 F.3d 632, 635

(8th Cir. 2014))). In Missouri, “[t]he possessor of land owes to an invitee the duty of

reasonable care to make the premises safe for that invitee, including warning the invitee of

dangerous conditions he is unlikely to discover.” Lacy v. Wright, 199 S.W.3d 780, 783 (Mo.

Ct. App. 2006) (first citing Bartel v. Cent. Mkts, Inc., 896 S.W.2d 746, 748 (Mo. Ct. App.

1995); and then citing Bruner v. City of St. Louis, 857 S.W.2d 329, 332 (Mo. Ct. App. 1993)).

To make a submissible premises-liability case under Missouri law, an injured invitee must

show that:

       (1) a dangerous condition existed on defendant’s premises which involved an
       unreasonable risk; (2) the defendant knew or by using ordinary care should have
       known of the condition; (3) the defendant failed to use ordinary care in removing
       or warning of the danger; and (4) the plaintiff sustained injuries as a result of
       such condition.

Steward v. Baywood Vills. Condo. Ass’n, 134 S.W.3d 679, 682 (Mo. Ct. App. 2004) (first

citing Burns v. Frontier II Props., Ltd. P’ship, 106 S.W.3d 1, 3 (Mo. Ct. App. 2000); and then

citing Emery v. Wal-Mart Stores, 976 S.W.2d 439, 443–44 (Mo. banc 1998)).
                                               6
 Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25      Page: 7 of 12 PageID #:
                                               208



       “A store keeper is not liable to a business invitee for injury resulting from a dangerous

or unsafe condition of the premises, absent evidence that the storekeeper had actual or

constructive knowledge of the condition in time to have remedied the condition prior to the

injury.” Elmore v. Wal-Mart Stores, Inc., 812 S.W.2d 178, 179–80 (Mo. Ct. App. 1991) (citing

Grant v. Nat’l Super Mkts., Inc., 611 S.W.2d 357, 359 (Mo. Ct. App. 1980)). “In order to

establish constructive notice, the condition must have existed for a sufficient length of time or

the facts must be such that the defendant should have reasonably known of its presence.” Id.

at 180 (citing Vinson v. Nat’l Super Mkts., Inc., 621 S.W.2d 373, 375 (Mo. Ct. App. 1981)).

       “[P]rior to the Missouri Supreme Court’s decisions in Sheil v. T.G. & Y. Stores Co.,

781 S.W.2d 778, 781 (Mo. banc 1989) and Moss v. Nat’l Super Mkts., Inc., 781 S.W.2d 784

(Mo. banc 1989),” Missouri courts “placed great emphasis on the length of time the dangerous

condition had been present and held that times of 20 or 30 minutes, absent proof of other

circumstances, were insufficient to establish constructive notice as a matter of law,” Love v.

Hardee’s Food Sys., Inc., 16 S.W.3d 739, 742 (Mo. Ct. App. 2000) (first citing Grant, 611

S.W.2d at 359; and then citing Carraway v. Nat’l Super Mkts., Inc., 741 S.W.2d 895, 896 (Mo.

Ct. App. 1987)). In Sheil, the Missouri Supreme Court reduced the importance of time as a

factor in cases involving self-service stores, stating that the more important factor in such cases

is “the method of merchandising and the nature of the article causing the injury.” 781 S.W.2d

at 780–81 (considering the above factors and concluding that a box in a store aisle was “a

dangerous, foreseeable condition, and the store had the duty to use due care to protect

customers against dangers of this kind”). The court in Moss reaffirmed this change and went

on to conclude that, on the record before it, the plaintiff there failed to put forth a submissible

premises-liability case because she failed to introduce “evidence about the defendant’s method
                                                7
 Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25       Page: 8 of 12 PageID #:
                                               209



of operation,” without which she could not show “constructive notice to the owner.” 781

S.W.2d at 785–86. As the court would later summarize, “Moss stated that under Sheil, the

durations of the existence of [dangerous conditions] ‘may not be so important as they once

were, especially if the evidence shows that employees of the store were regularly in the area

in which the accident occurred.’” Georgescu v. K Mart Corp., 813 S.W.2d 298, 302 (Mo. banc

1991) (quoting Moss, 781 S.W.2d at 785–86).

       Elmore v. Walmart Stores provides a useful illustration of these principles. 812 S.W.2d

at 178. There, the plaintiff slipped and fell on a partially opened package of breath mints on

the floor of the fabric department in defendant’s store. Id. at 179. Because the mints were not

regularly merchandised in the fabric department, the Missouri Court of Appeals determined

that the “foreseeability present in Sheil . . . c[ould ]not be said to be present” and that Moss

was more “on point since the spill in Moss, though outside of the store, was not an item

regularly merchandised by the store.” Id. at 181–82 (citing Moss, 781 S.W.2d at 785). The

appellate court stated that “[w]hile Sheil and Moss greatly contracted the role of time in

determining whether constructive notice exists, they did not eliminate time as a factor,” and in

Elmore, the undisputed evidence showed that the area had been cleaned five minutes before

the fall, and the mints were not observed at that time. Id. at 182. Because the mints had been

on the ground for only five minutes and the article causing the fall was in an area where it was

not regularly sold, the court held that the defendant could not, “as a matter of law, be found to

have constructive notice of the existence of the dangerous condition.” Id.

       In Gatley v. Wal-Mart Stores, Inc., the appellate court likewise determined that Moss

controlled because the accident occurred outside the store, and it interpreted Moss as holding

that, “at least as to [personal injuries] outside the store, it is necessary that the defendant have
                                                 8
 Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25     Page: 9 of 12 PageID #:
                                               210



some opportunity to observe the dangerous condition before the [injury] for which a plaintiff

seeks to hold it responsible.” 16 S.W.3d 711, 714 (Mo. Ct. App. 2000). The court concluded

that the defendant had “no liability for a condition which appeared suddenly before Plaintiff’s

fall that it could either not reasonably be held to foresee or which its employees did not have

a reasonable opportunity to observe and correct.” Id. at 716.

       In addition, a possessor is not held liable for an injury caused by a defect in the
       premises of which he had no actual knowledge, even though it might have been
       revealed if he had made an investigation or inspection, unless the situation
       suggests an investigation and the facts are such as to indicate to a reasonably
       prudent [person] the likelihood of the existence of some hidden danger to
       persons lawfully on his property.

Medows v. Brockmeier, 863 S.W.2d 675, 676–77 (Mo. Ct. App. 1993) (alteration in original)

(citing Asher v. Broadway-Valentine Ctr., Inc., 691 S.W.2d 478, 483 (Mo. Ct. App. 1985)).

       Because the Court finds that Defendant has met its initial, far-from-stringent burden,

see Bedford, 880 F.3d at 996, Plaintiff must “come forward with specific facts showing there

is a genuine issue for trial” to survive Defendant’s Motion. Atkinson v. City of Mt. View, 709

F.3d 1201, 1207 (8th Cir. 2013). More specifically, Plaintiff must raise a genuine issue of

material fact as to whether Defendant had constructive notice of the improperly-connected

breakaway device.

       He has failed to do so. The only evidence concerning Defendant’s business practices

and how it monitors its fuel pumps is the deposition transcript of Defendant’s corporate

representative, who testified that the gas station’s video cameras are not monitored in real time,

there was no alarm or sensor on the subject pump or breakaway device to notify Defendant’s

employees when the hose became disconnected from the pump, and Defendant is notified that

a hose has been disconnected from a pump only if an employee observes a disconnected hose

                                                9
Case: 4:23-cv-01504-MTS          Doc. #: 34     Filed: 05/22/25     Page: 10 of 12 PageID #:
                                              211



or a customer notifies an employee that a hose has been disconnected. See Doc. [28-1] at 6, 8;

Doc. [29] ¶¶ 9, A.     While there is record evidence indicating that hoses are regularly

disconnected from the fuel pumps at Defendant’s gas stations by customers who forget to

remove nozzles from their vehicles before driving away, see Doc. [31] ¶ E, there is nothing in

the record suggesting that customers attempt to reattach disconnected hoses themselves with

any regularity. Thus, Plaintiff has not shown that the improperly-connected breakaway device

was foreseeable to Defendant or that Defendant had constructive notice of its presence. See

Elmore, 812 S.W.2d 181 (concluding that where “the breath mints involved were not regularly

merchandised either partially opened nor in the fabric department[, t]he foreseeability present

in Sheil regarding the box of motor oil c[ould ]not be said to be present”).

       Additionally, Plaintiff has presented no evidence showing that Defendant’s employees

had an opportunity to discover the improperly-connected breakaway device prior to the May

28, 2021, incident. See Gatley, 16 S.W.3d at 715 (“[A]t least outside the store, the defendant

must have some reasonable opportunity to discover the condition.”). Plaintiff admits that there

was no visual indication the hose had been improperly connected to the subject pump, Doc.

[29] ¶¶ 15, 17, and that when Defendant is notified that a hose has been disconnected,

Defendant’s employees are instructed to place a work order with facility support and wait for

a technician to reattach the disconnected hose rather than attempting to reattach it themselves,

Doc. [29] ¶¶ 10, A; see also Doc. [28-1] at 7 (“The store manager should not be reattaching

the breakaway themselves. . . . [T]hey are not expected to mess with any mechanical or . . .

electronic[] devices that they are not certified to repair.”). Therefore, by Plaintiff’s own

admission, Defendant’s employees could not have discovered the improperly-connected

breakaway device, even if they had visually inspected the subject pump before Plaintiff
                                              10
Case: 4:23-cv-01504-MTS          Doc. #: 34      Filed: 05/22/25     Page: 11 of 12 PageID #:
                                               212



arrived. See Gatley, 16 S.W.3d at 716 (holding that defendant had “no liability for a condition

which appeared suddenly before Plaintiff’s fall that it could either not reasonably be held to

foresee or which its employees did not have a reasonable opportunity to observe and correct”);

Medows, 863 S.W.2d at 677 (concluding that the plaintiff failed to present a submissible case

where “[t]he evidence did not establish either that defendant knew of the condition of the step

or that the situation suggested that an investigation of the step was necessary”); England v.

Salamon, 324 S.W.2d 765, 767 (Mo. Ct. App. 1959) (“[T]he landowner will not be held liable

for hidden defects which would not have been discovered by a reasonably careful inspection.”).

       As for Plaintiff’s assertion that when Defendant installed cameras to record video of

the premises, Defendant undertook a duty to actively monitor the surveillance footage in real

time, Plaintiff cites no Missouri authority for that proposition, and the Court has found no such

authority. Plaintiff appears to be relying on Combellick v. Rooks, which states that “where

‘one is charged with the duty to look and to look is to see, he must be held to have seen what

looking would have revealed.’” 401 S.W.2d 460, 463 (Mo. 1966) (en banc) (quoting Smith v.

Kansas City Pub. Serv. Co., 43 S.W.2d 548, 553 (Mo. 1931) (en banc)). While “Missouri

courts have consistently held that where a duty to look exists it is contributory negligence to

fail to see what is plainly visible,” Fehlbaum v. Newhouse Broad. Corp., 483 S.W.2d 664, 665

(Mo. Ct. App. 1972) (citing Combellick, 401 S.W.2d at 463), they have also held that

“[a] person . . . is not required to look for danger where there is no cause to anticipate it,” id.

(citation omitted), and the Court has already determined that Plaintiff has not shown that the

improperly-connected breakaway device was foreseeable to Defendant. Further, Combellick

is inapposite because that case involved a motor vehicle accident, not premises liability, and it


                                                11
Case: 4:23-cv-01504-MTS         Doc. #: 34      Filed: 05/22/25     Page: 12 of 12 PageID #:
                                              213



provides no support for Plaintiff’s contention by installing video cameras on its premises,

Defendant undertook a duty to constantly monitor the surveillance footage.

       Accordingly, Plaintiff has not presented “a submissible case by showing that the

[improperly-connected breakaway device] was either foreseeable to [Defendant] or that

[Defendant] had constructive notice of its presence.” Gatley, 16 S.W.3d at 716; see also

Roberson v. AFC Enters., Inc., 602 F.3d 931, 934–35 (8th Cir. 2010) (applying Missouri law

and concluding that plaintiff failed to show that defendant should have known of the allegedly

dangerous condition where she presented no evidence of defendant’s method of operation or

evidence that defendant had received prior complaints about the condition).

IV.    Conclusion

       Plaintiff has failed to raise a genuine issue of material fact as to whether Defendant had

constructive notice of the improperly-connected breakaway device. See Celotex Corp., 477

U.S. at 323; Gatley, 16 S.W.3d at 716. As such, the Court will grant Defendant’s Motion.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Summary Judgment, Doc.

[26], is GRANTED.

       A separate Judgment will accompany this Memorandum and Order.

       Dated this 22nd day of May 2025.



                                            MATTHEW T. SCHELP
                                            UNITED STATES DISTRICT JUDGE




                                              12
